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                         LEVIN-EPSTEIN & ASSOCIA
___________________________________________________________
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                                                                                     8/2/2023
VIA ECF
The Honorable Analisa Torres, U.S.D.J.
U.S. District Court, Southern District of New York
500 Pearl Street
New York, New York 10007

                               Re:      Garcia v. S&D Security and Data Inc. et al
                                        Case No.: 23-cv-04291

Dear Honorable Judge Torres:

          This law firm represents Plaintiff Jorge Garcia (the “Plaintiff”) in the above-referenced
matter. This letter is filed jointly with Defendants S&D Security and Data Inc.’s (the “Corporate
Defendant”) and David Amir’s (the “Individual Defendant”, and together, the “Defendants”).

       Pursuant to Your Honor’s Individual Motion Practice Rule I(C), this letter respectfully
serves as a joint request to so-order the proposed stipulation, filed simultaneously herewith,
extending Defendants’ deadline answer or otherwise respond to the complaint from August 7,
2023, to, through and including, September 7, 2023.

       This is the first request of its nature. If granted, this request will not affect any other
scheduled deadlines.

        The basis for this request is that the parties are exploring the possibility of an early
resolution of this action. The parties are hopeful that they will be in a position to conclude their
alternative dispute resolution discussions on or before September 7, 2023, thereby obviating the
need for further Court intervention.

       Thank you, in advance, for your time and attention to this matter.
                                                  Respectfully submitted,
                                                           LEVIN-EPSTEIN & ASSOCIATES, P.C.

                                                         By: /s/ Jason Mizrahi


         GRANTED.

         SO ORDERED.

         Dated: August 2, 2023
                New York, New York
